Case 5:23-cv-00580-FB Document 341 Filed 06/28/24 Page 1of1

CAUSE NO. 5:23-cv-00580-FB

JULIA HUBBARD and KAYLA GOEDINGHAUS 8 UNITED STATES DISTRICT COURT
8 FOR THE WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
Plaintiff,
VS.

TRAMMELL S. CROW, JR., et al.
Defendant.

Mmmm Mm mM

AFFIDAVIT OF SERVICE

"The following came to hand on Jun 19, 2024, 3:31 pm,

SUMMONS ISSUED
292 - 2D AMENDED COMPLAINT

and was executed at 1302 Wrangler Way, PRINCETON, TX 75407 within the county of COLLIN at 10:29 AM on Thu, Jun
20 2024, by delivering a true copy to the within named H. J. COLE in person, having first endorsed the date and time of
delivery on same.

| am a person over eighteen (18) years of age and | am competent to make this affidavit. | am a resident of the State of
Texas. | am a Texas JBCC Certified Process Server and | am familiar with the Texas Rules of Civil Procedure as they apply
to service of Process. | am not a party to this suit nor related or affiliated with any herein, and have no interest in the
outcome of the suit. | have never been convicted of a felony or of a misdemeanor involving moral turpitude. | have
personal knowledge of the facts stated herein and they are true and correct."

My name is Donna LiAne Gardner, my date of birth is 05/10/1967, and my mailing address is PO Box 2111, Cedar Park,
TX 78630, and United States of America. | declare under penalty of perjury that the foregoing is true and correct.

Executed in BEXAR County, State of TEXAS, on June 22, 2024.

Donna LiAne Gardner

Certification Number: PSC-17222
Certification Expiration: 08/31/2025
Fee: $275.00 (Same Day Rush)

